EXHIBIT "1"
                       Klein Investigations and Consulting                              Invoice No. 2016-01-055
                       A Division Of Klein Investments, Inc.
                                  P.O. Box 1212
                             Nederland, Texas 77627
                                                                                                     JINVOICE

Customer [                                                                            Misc           |

Name         Kallop Companies / through William Kallop and Family                     Date               1/11/2017
Address      13430 Northwest Freeway Suite 900                                        Order No.          16-055 (a)
City         Houston                    State Tx         ZIP 77040                    Rep                KIC-NED
Phone                                                                                 FOB                Ned Tx Office

   Qty                                    Description                                   Unit Price               TOTAL


     1       2016 1st Half Retainer - Partial Paid                                    $160,000.00 $ :• 160,000.00
     1       2016 2nd Half Retainer - July 2016 - Not Paid                            $160,000,00 ,$ ' -160,000.00
    -1       Payment - Wire Transfer April 2016                                       $ 50,000.00 ,3; ,,(5Q,ooo.oo)
    -1       Discount From Not Used Retainer                                          $ 7,232.73 :$•' "(7,232.73)
     1       Late Fee Per Contract For Non - Payment Terms 1 0%                       $ 26,276.73 -$. ., 26,276.73


             Routing Instructions : 313177727 Account : 10100000102024
             Klein Investments, Inc.




                                                                                          SubTotai       $       289,044.00
                                                                                          Shipping
Payment        Other                                                    Tax Rate(s)
                                                                                                             •   •;


Comments                                                                                     TOTAL       $ - 289,044.00
   Name
    CC#]                                                                  The Kailop Cornpatnes -
  Expires



                                         Our Tax ID Number is XX-XXXXXXX
                                 Do You Have Questions? Please Call 409-729-8798
                                        All Invoices Are Due Upon Reciept




                                         Thank You For Your Business!
